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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Criminal Case No. 17-CR-00432-1


 UNITED STATES OF AMERICA,

              Plaintiff,

 v.

 MICHELLE MEDINA

              Defendant.


      ORDER REGARDING EARLY TERMINATION OF SUPERVISED RELEASE



       THIS MATTER is before the Court upon request by the defendant for the Court to
 consider early termination of supervised release [Document 36].

       HAVING considered the probation officer's report and the government’s
 response, the Court

        ORDERS the defendant’s term of supervised release be terminated immediately.

        DENIES early termination of the defendant’s supervised release.


         DATED at Denver, Colorado, this          day of October 2021.

                                        BY THE COURT:


                                           Philip A. Brimmer
                                           Chief United States District Judge
